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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

JOSE NORBERTO VALDEZ,                             §
               PLAINTIFF,                         §
                                                  §
V.                                                §
                                                  §      CAUSE NO. 1:1 5-CV-602-LY
MEDTRONIC USA, INC. AND                           §
MEDTRONIC, INC., BOTH D/B/A/                      §
MEDTRONIC NEUROMODULATION,                        §
                 DEFENDANT.                       §

                                     FINAL JUDGMENT

       Before the court in the above styled and numbered cause is the parties' Joint Stipulation

for Dismissal with Prejudice filed April 13, 2016 (Clerk's Doc. No. 68). The court has reviewed

and approves the stipulation.   Accordingly, the court renders the following Final Judgment

pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that the above numbered cause of action is DISMISSED WITH

PREJUDICE.

       IT IS FURTHER ORDERED that the parties bear their own costs of court and

attorney's fees.

       IT IS FINALLY ORDERED that the case is CLOSED.

       SIGNED this                day of April, 2016.




                                                      ITED STA   S   DIST ICT JUDGE
